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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
 VS                                                §    Case Number: 2:05CR3 (25)
                                                   §
 OLANDARIS DEMONTRAY FEGGETT                       §

                          REPORT AND RECOMMENDATION OF
                        THE UNITED STATES MAGISTRATE JUDGE

        On April 20, 2009, the court held a final hearing on the government’s petition (#1124) to

 revoke supervised release. The government was represented by Assistant United States Attorney

 Richard Moore. The defendant was represented by Mr. Ken Hawk.

        Olandaris Demontray Feggett was sentenced on December 21, 2005, before The Honorable

 U.S. District Judge T. John Ward of the Eastern District of Texas – Marshall Division, after pleading

 guilty to the offense of Possession with Intent to Distribute and Distribution of Cocaine, a Class C

 felony. This offense carried a statutory maximum imprisonment term of 20 years. The guideline

 imprisonment range, based on a total offense level of 12 and a criminal history category of I, was 10

 to 16 months. Olandaris Demontray Feggett was subsequently sentenced to 10 months imprisonment

 to be followed by 3 years of supervised release subject to the standard conditions of release, plus

 special conditions to include financial disclosure and drug aftercare. On January 27, 2006, Olandaris

 Demontray Feggett completed his period of imprisonment and began service of the supervision term.

        On January 14, 2009, the instant petition to revoke was filed. In its petition, the government

 alleges the defendant violated the following conditions:

        1) The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,

 use, distribute, or administer any narcotic or other controlled substance, or any paraphernalia related
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 to such substances, except as prescribed by a physician. Specifically, the government alleges as

 follows: On September 24, 2008; November 17, 2008; December 16, 2008; and January 7, 2009,

 Olandaris Feggett submitted urine specimens which tested positive for marijuana. Mr. Feggett

 admits to using marijuana on or about September 15, 2008; November 15, 2008, and December 25,

 2008.

         2) The defendant shall participate in a program of testing and treatment for drug abuse, under

 the guidance and direction of the U.S. Probation Office, until such time as the defendant is released

 from the program by the probation officer. Specifically, the government alleges as follows: On

 December 3 and 31, 2008, Olandaris Feggett failed to participate in a program of treatment for drug

 abuse. On December 4 and 19, 2008, Mr. Feggett failed to participate in a program of testing for

 drug abuse.

         At the hearing on the government’s petition, and after consenting to the undersigned’s taking

 the plea, the defendant pled true to the allegations as set forth above. Based on the defendant’s plea

 of true to the allegations, and with no objection by the defendant or the government, the court found

 that the defendant did violate the conditions of his supervised release as alleged in the U.S. Probation

 Office’s petition.

         The court thereafter recommended that the defendant be sentenced to time served with 12

 months of supervised release to follow. Based on the foregoing, it is

         RECOMMENDED that the defendant’s plea of true to the allegations as set forth in the

 government’s petition be ACCEPTED. Based upon the defendant’s plea of true to the allegations,

 it is further recommended that the court find that the defendant violated the conditions of his

 supervised release. It is further

         RECOMMENDED that the defendant be sentenced to time served and continued on
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 supervised release for a term of 12 months.

        At the close of the April 20, 2009, revocation hearing, defendant, defense counsel, and

 counsel for the government each signed a standard form waiving their right to object to the proposed

 findings and recommendations contained in this report, consenting to revocation of supervised

 release as recommended herein, and consenting to the imposition of the above sentence

 recommended in this report. Defendant waived his right to be present and speak before the district

 judge imposes the recommended sentence. Therefore, the Court may act on the report and

 recommendation immediately.

         SIGNED this 20th day of May, 2009.




                                                      ___________________________________
                                                      CHARLES EVERINGHAM IV
                                                      UNITED STATES MAGISTRATE JUDGE
